        Case 3:20-cr-01515-DB         Document 366         Filed 05/21/25    Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

 UNITED STATES OF AMERICA,                      '
                                                '
        Plaintiff,                              '
                                                '
                                                '
 v.                                             '      CAUSE NO: EP-20-CR-1515-DB
                                                '
 DORIHECT C. AMAYA-NARANJO,                     '
 a.k.a., “CHAMA” (5),                           '
                                                '
        Defendant.

               JOINT MOTION TO VACATE OR RESET TRIAL SETTING

       The United States of America (“the Government”), by and through the undersigned

Assistant United States Attorney, and Defendant Dorihect C. Amaya-Naranjo, by and through her

undersigned attorney, respectfully request that the Court set this case for a plea hearing in four

weeks and vacate the trial date or reset the trial date in the above-captioned cause and would

respectfully show the Court the following:

       Defendant was charged in one count of a seven-count Superseding Indictment, along with

five other codefendants on December 2, 2020. ECF No. 78. Specifically, Defendant was charged

in Count One of the Superseding Indictment with conspiracy to commit fraud in connection with

access devices, in violation of 18 U.S.C. § 1029(b)(2). Id. However, Defendant was not located

and arrested until October 23, 2024. Defendant was arrested in the Eastern District of New York

and granted a bond that allowed her to remain in the Eastern District of New York. ECF No. 337.

Defendant was appointed her first attorney at that time.

       On January 17, 2025, Defendant’s first attorney filed a motion for substitution of counsel,

which the Court granted on January 21, 2025. ECF No. 356. On May 2, 2025, the Court set this

case for jury selection and trial on June 3, 2025. ECF No. 365. Since then, the parties have been
          Case 3:20-cr-01515-DB             Document 366           Filed 05/21/25         Page 2 of 4




diligently working to come to reach an agreement on this case. This has been complicated by the

fact that Defendant resides out of town. The parties believe that they can come to a resolution on

this case but are respectfully requesting more time to do so. Consequently, the parties request that

the Court vacate the trial setting and set the case for a plea hearing in four weeks. In the alternative,

if the Court does not deem it appropriate to vacate the trial setting prior to the plea taking place,

the parties respectfully request that the Court reset the trial to a date in September 2025. 1

          This motion is not sought for purposes of delay but so that the ends of justice may be

served.

                                                    Respectfully submitted,

                                                    MARGARET F. LEACHMAN
                                                    ACTING UNITED STATES ATTORNEY


                                            By:             /s/
                                                    SARAH VALENZUELA
                                                    Assistant U.S. Attorney
                                                    Texas Bar #24089261
                                                    700 E. San Antonio, Suite 200
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                                                    JIM DARNELL P.C.
                                                    310 N. Mesa, Suite 212
                                                    El Paso, Texas 79901
                                                    Phone: (915) 532-2442
                                                    Fax: (915) 532-4549

                                            By:     _______/s/Jim Darnell_________________




1
 The undersigned Assistant United States Attorney has trial settings on June 20, 2025, and August 22, 2025, in the
Honorable Judge Cardone’s Court. The undersigned attorney for Defendant has a trial in July 2025. Consequently, a
September 2025 trial date would be best for both parties.
                                                        2
       Case 3:20-cr-01515-DB       Document 366       Filed 05/21/25    Page 3 of 4




                              CERTIFICATE OF SERVICE
       I certify that, on May 21, 2025, a copy of the foregoing motion was filed via CM/ECF,
which would automatically generate an electronic copy to Defendant’s Attorney of record Jim
Darnell.


                                   By:           /s/
                                          SARAH VALENZUELA
                                          Assistant U.S. Attorney




                                             3
       Case 3:20-cr-01515-DB        Document 366        Filed 05/21/25    Page 4 of 4




                      IN THE UNITED STATES DISTRICT COURT
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 UNITED STATES OF AMERICA,                    '
                                              '
        Plaintiff,                            '
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 v.                                           '     CAUSE NO: EP-20-CR-1515-DB
                                              '
 DORIHECT C. AMAYA-NARANJO,                   '
 a.k.a., “CHAMA” (5),                         '
                                              '
        Defendant.


  ORDER GRANTING JOINT MOTION TO VACATE OR RESET TRIAL SETTING

       On this date, the Court considered the parties “Joint Motion to Vacate or Continue Trial

Setting” in the above-entitled and numbered cause, and the Court having considered the same, is

of the opinion that said request should be GRANTED.

        IT IS THEREFORE ORDERED that above-captioned cause is set for a PLEA

 HEARING on __________________________, 2025, at ____________.

        IT IS FURTHER ORDERED that the JURY SELECTION AND TRIAL currently

 scheduled in the above-captioned cause for June 3, 2025, at 1:00 p.m. is HEREBY

 VACATED/RESET for ________________________________, 2025, at ________ a.m./p.m.


                                           __________________________________________
                                           HONORABLE DAVID BRIONES
                                           SENIOR UNITED STATES DISTRICT JUDGE
